
*889OPINION.
Goodeich :
The issue here involved is clearly controlled by our prior decisions in the cases of Chicago, Rock Island &amp; Pacific Railway Co., 13 B. T. A. 988; affd., 47 Fed. (2d) 990; and Charleston &amp; Western Carolina Railway Co., 17 B. T. A. 569; affirmed by the Court of Appeals, District of Columbia, May 4, 1931. We hold *890therefore that respondent was not in error in including in petitioner’s taxable income for the year 1923 the sum of $58,498.64, representing unclaimed wages credited in that year to petitioner’s profit and loss account and previously allowed as a part of its operating expenses during the years in which said wage claims accrued. We find the correct deficiency for the year 1923 to be $41,795.08, of which the unpaid balance is $4,448.37.
In accordance with the stipulation entered into between the parties herein we find that on March 29, 1928, petitioner overpaid its income-tax liability for the year 1922 in the amount of $2,630.33, consisting of tax in the amount of $2,059.64, and interest thereon in the amount'of $570.69.

Judgment will be entered in accordance herewith.

